                                                     United States District Court
                                                     Central District of California



  UNITED STATES OF AMERICA vs.                                           Docket No.            2:18CR00174PSG-2                  JS-3

 Defendant      Erlinda Abella                                           Social Security No. 4         0       1     4
       Erlinda Abella Nacorda; Maria Abella:
       Erlinda Moultrie; Erlinda Bodney                                 (Last 4 digits)
 akas: T/N: Erlinda Gonse Abella




                                                                                                                   MONTH   DAY   YEAR
            In the presence ofthe attorney for the government, the defendant appeared in person on this date


  COUNSEL                                                        Robert Sheahen,(Retained)
                                                                        (Name of Counsel)

    PLEA         ~X GUILTY,and the court being satisfied that there is a factual basis for the plea.          NOLO    ~  NOT
                                                                                                           CONTENDERE   GUILTY
  FINDING            There being afording/verdict of GUILTY, defendant has been convicted as charged ofthe offenses) o£
                     Heath Care Fraud, Causing an Acto to be Done in violation of 18 U.S.C. section 1347 as charged in
                     Count 4 ofthe Indictment.
JiJDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody ofthe Bureau of Prisons to be imprisoned for a term of: 12 months and 1 day.



It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period ofimprisonment, at the rate of not less than
$25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of$260,101 pursuant to 18 U.S.C. §
3663A.

The amount ofrestitution ordered shall be paid as follows:

Victim                                                 Amount
Medi-Cal                                              $260,101

  estitution s a e ue uring t e perio o imprisonment, at t e rate o not ess t an 5 per quarter, and
pursuant to the Bureau ofPrisons' Inmate Financial Responsibility Program. If any amount of the restitution
remains unpaid after release from custody, nominal monthly payments of at least 10% of defendant's gross
monthly income but not less than $150, whichever is greater, shall be made during the period of supervised
release and shall begin 30 days after the commencement of supervision. Nominal restitution payments are
ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or
future payment ofthe amount ordered.


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The defendant shall be held jointly and severally liable with co-participant Mesbel Mohamoud (Docket No.
CR18-00174), for the amount of restitution ordered in this judgment. The victim's recovery is limited to the
amount of its loss and the defendant's liability for restitution ceases if and when the victim receives full
restitution.

Pursuant to 18 U.S.C. § 3612(~(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant
to 18 U.S.C. § 3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § SE1.2(a), all fines are waived as the Court finds that the defendant has established that
she is unable to pay and is not likely to become able to pay any fine.

Upon release from imprisonment, the defendant shall be placed on supervised release for
a term of2 years under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the United States Probation &Pretrial
Services Office and Second Amended General Order 20-04, including the conditions of probation and
supervised release set forth in Section III of Second Amended General Order 20-04.

2. During the period of community supervision, the defendant shall pay the special assessment and restitution
in accordance with this judgment's orders pertaining to such payment.

3. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
judgments and any other financial gains to the Courtordered financial obligation.

4. The defendant shall cooperate in the collection of a DNA sample from the defendant.

5. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
involving Medi-Cal, Medicare, Medicaid, or any Federal health care programs, without the express written
approval of the Probation Officer prior to engaging in such employment. Further, the defendant shall provide
the Probation Officer with access to any and all business records, client lists, and other records pertaining to
the operation of any business owned, in whole or in part, by the defendant, as directed by the Probation
Officer.

6. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
passport or any other form of identification in any name, other than the defendant's true legal name, nor shall
the defendant use, any name other than the defendant's true legal name without the prior written approval of
the Probation Officer.

7. The defendant shall not be employed in any position that requires licensing or certification by any local,
state, or federal agency without the prior written approval of the Probation Officer.



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 The drug testing condition mandated by statute is suspended based on the Court's determination that the
 defendant poses a low risk of future substance abuse.

It is further ordered that the defendant surrender herself to the institution designated by the Bureau of Prisons
at or before 12 noon on June 30, 2021. In the absence of such designation, the defendant shall report on or
before the same date and time, to the United States Marshal located at the Edward R. Roybal Federal Building
and U.S. Courthouse, 255 East Temple Street, Suite 1410, Los Angeles, CA 90012.

The Bond is exonerated upon surrender.

The defendant is advised of her right to appeal.

At the Government's request the remaining counts ofthe Indictment are dismissed.

The Court recommends housing at a local facility or a facility located in Southern California.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




                     s1~/~-~
            Date                                                  U. S. Distric    ge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                 Clerk, U.S. District Court




            Apri128, 2021                                  By    Tvryla Freeman
            Filed Date                                           Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court(set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:



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  1.   The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
  2.   The defendant must report to the probation office in the federal                 engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                any person convicted of a felony unless granted perrnission to do so
        sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
        otherwise directed by the probation officer;                                   family members, unless the court has completed an individualized
  3.   The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
        court or probation officer;                                                     protection of the community or rehabilitation;
  4.   The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
  5.   The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             1 1.   The defendant must notify the probation officer within 72 hours of
  6.   The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours ofan unanticipated change             ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant's residence;                 13.    The defendant must not act or enter into any agreement with a law
  7.   The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders ofthe court, afford adequate deterrence from
  8.   The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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       The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

            The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
  restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(fl(1). Payments may be subject
  to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
  for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
  order made payable to "Clerk, U.S. District Court." Each certified check or money order must include the case name and number. Payments
  must be delivered to:

           United States District Court, Central District of California
           Attu: Fiscal Deparhnent
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

  or such other address as the Court may in future direct.

           If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
  balance as directed by the United States Attorney's Office. 18 U.S.C. § 3613.

           The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant's mailing address or
  residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(1)(F).

           The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
  defendant's economic circumstances that might affect the defendant's ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
  The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
  adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
  § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(1), all nonfederal victims must be paid before the United
                        States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

           CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

           As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries;(2)federal and state income tax returns or a signed release authorizing their disclosure and(3)an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request ofthe Probation Officer, the defendant must produce to the
                                                              or roves en s accoun s o w is      e e en an as access, me u mg any usmess
 ar trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant's
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.


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                                                                     RETURI~1

 I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                      to
  Defendant noted on appeal on

  Defendant released on
  Mandate issued on
  Defendant's appeal determined on
  Defendant delivered on                                                                     to
       at
       the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                      United States Marshal



                                                               By
             Date                                                     Deputy Marshal

                                                                   CERTIFICATE

  I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
  legal custody.

                                                                     Clerk, U.S. District Court




            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a fording of violation of probation or supervised release, I understand that the court may(1)revoke supervision,(2)extend the term of
supervision, and/or(3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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